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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )      ORDER
                                               )
       vs.                                     )
                                               )
Michael Justin Choquette,                      )      Case No. 1:16-cr-244
                                               )
               Defendant.                      )


       On January 31, 2017, the court issued an order granting defendant’s request to be furloughed

on February 21, 2017, so that he could attend a hearing on a civil matter in state district court. The

court hereby VACATES its order granting defendant’s furlough request.

       IT IS SO ORDERED.

       Dated this 21st day of February, 2017.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
